           Case 2:07-cr-00515-WBS Document 315 Filed 11/04/11 Page 1 of 2


 1   KRESTA NORA DALY, SBN 199689
     Rothschild Wishek & Sands, LLP
 2
     901 F Street, Suite 200
 3   Sacramento, CA 95814

 4   Attorney for Aricela Villa
 5

 6

 7

 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,               ) Case No.: 2:07cr00515 WBS
                                             )
12
                Plaintiff,                   ) STIPULATION AND ORDER
                                             )
13                                           ) DATE: November 7, 2011
           v.
                                             ) TIME: 8:30 a.m.
14                                           ) JUDGE: Honorable William Shubb
     ARICELA VILLA,
                                             )
15                                           )
                Defendants.
                                             )
16

17
           It is hereby stipulated and agreed to between the United
18
     States of America through MICHAEL BECKWITH, Assistant U.S.
19
     Attorney, and defendant, Aricela Villa, through her counsel,
20
     KRESTA DALY, that the sentencing hearing of November 7, 2011 be
21
     ///
22
     ///
23
     ///
24
     ///
25
     ///
26
     ///
27
     ///
28
     ///


                                         1
          Case 2:07-cr-00515-WBS Document 315 Filed 11/04/11 Page 2 of 2


 1   vacated and that sentencing hearing be set for January 23, 2012
 2   at 8:30 a.m.
 3   DATED:   November 3, 2011        Respectfully submitted,
 4

 5

 6                                      s/Kresta Daly_____________
                                      KRESTA DALY
 7                                    Attorney for Aricela Villa
 8

 9

10
                                        s/Kresta Daly_____________
11   DATED:   November 3, 2011        Michael Beckwith
                                      Assistant United States Attorney
12

13

14
                                   O R D E R
15
          IT IS SO ORDERED.
16
     DATED:     November 3, 2011
17

18

19

20

21

22

23

24

25

26

27

28



                                        2
